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 8                                   UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                         No. 2:11-cr-449-KJM
12                      Plaintiff,
13          v.                                         ORDER
14   BRIAN JUSTIN PICKARD, et al.,
15                      Defendants.
16

17                  On May 7, 2015, defendants filed a motion for reconsideration (ECF No. 395) of

18   this court’s April 17, 2015 order denying their motion to dismiss the indictment (ECF No. 392).

19   The government filed neither an opposition nor a notice of non-opposition. On May 21, 2015, the

20   court took the motion under submission without oral argument. (ECF No. 396.) As explained

21   below, the court denies defendants’ motion.

22                  Motions for reconsideration are allowed in criminal cases. See United States v.

23   Mendez, No. 07-00011, 2008 WL 2561962, at *1 (C.D. Cal. June 25, 2008); accord L.R. 430(i).

24   They are governed by the same rules as their equivalents in civil cases. See Mendez, 2008 WL

25   2561962, at *2. District courts have wide discretion to consider a prior order. See Navajo Nation

26   v. Confederated Tribes & Bands of the Yakama Indian Nation, 331 F.3d 1041, 1046 (9th Cir.

27   2003). “A party seeking reconsideration must show more than a disagreement with the [c]ourt’s

28   decision, and recapitulation . . . of that which was already considered by the [c]ourt in rendering
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 1   its decision.” Le v. Sandor, No. 14-01464, 2014 WL 5305894, at *1 (E.D. Cal. Oct. 15, 2014). A
 2   party filing a motion for reconsideration should not ask the court “to rethink what the Court has
 3   already thought through” simply because of a disagreement with the result of that thought
 4   process. Above the Belt, Inc. v. Mel Bohannan Roofing, Inc., 99 F.R.D. 99, 101 (E.D. Va. 1983).
 5                  Here, because defendants are asking the court to rethink what it has already
 6   thought through, the court finds reconsideration unwarranted. “The defense seeks reconsideration
 7   . . . on the grounds that the Court precluded consideration of [H.R. 83] which was offered as
 8   essential legal authority supporting each of the three Constitutional Challenges.” (ECF No. 395
 9   at 4.) On the contrary, this court did consider the merits of defendants’ section 538 arguments
10   and found them unpersuasive. Accordingly, the court denies defendants’ motion for
11   reconsideration.
12                  IT IS SO ORDERED.
13   DATED: June 1, 2015.
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                                                  UNITED STATES DISTRICT JUDGE
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